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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT


 AURACLE HOMES, LLC; FD MANAGEMENT
 LLC; BUCKLEY FARMS, LLC; ORANGE
 CAPITOL, LLC; 216 EAST MAIN STREET                    Case No. __________________
 MERIDEN, LLC; BD PROPERTY HOLDINGS,
 LLC; PRIME MANAGEMENT, LLC; AND,
 HABERFELD ENTERPRISES, LLC,
                                                                  JUNE 16, 2020
           Plaintiffs,

 v.

 NED LAMONT

           Defendant.


          PROPOSED ORDER REGARDING PLAINTIFFS’
MOTION FOR EMERGENCY TEMPORARY RESTRAINING ORDER, OR, IN
  THE ALTERNATIVE, ISSUANCE OF A PRELIMINARY INJUNCTION

Pursuant to Fed. R. Civ. Pro. 65, the Court grants the Plaintiffs’ Motion for Emergency

Temporary Restraining Order, or, in the Alternative, Issuance of a Preliminary Injunction as

follows:

1.     The Defendant and all governmental agencies, departments, political subdivisions,

       under the Defendants’ authority or direction, are hereby restrained, are enjoined and

       prohibited from taking any action to enforce Executive Order 7X to sanction, charge,

       punish or penalize any Landlord for failing or refusing to follow or abide by such

       Executive Order.

2.     The Defendant shall issue Executive Orders which modify Executive Orders 7G and

       7X so as to provide the Plaintiffs and those like them a process under which to issue
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     Notices to Quit, to initiate and pursue summary process eviction actions, and to

     proceed with execution of eviction judgments.

3.   The Defendant shall issue Executive Orders which repeal the remaining portions of

     Executive Order 7G and 7X that are outside the scope of the legal authority of the

     Defendant Governor.

     Dated: JUNE 16, 2020               Respectfully submitted,

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